         Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 1 of 11 Page ID #:1



     SO. CAL. EQUAL ACCESS GROUP
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 5
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 6   JEREMY HOLLAND
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     JEREMY HOLLAND,                                  Case No.:
11
                  Plaintiff,                          COMPLAINT FOR INJUNCTIVE
12                                                    RELIEF AND DAMAGES FOR DENIAL
           vs.                                        OF CIVIL RIGHTS OF A DISABLED
13                                                    PERSON IN VIOLATIONS OF
14                                                    1. AMERICANS WITH DISABILITIES
                                                      ACT, 42 U.S.C. §12131 et seq.;
15   MALTY GROUP LLC; and DOES 1 to 10,
                  Defendants.                         2. CALIFORNIA’S UNRUH CIVIL
16                                                    RIGHTS ACT;
17                                                    3. CALIFORNIA’S DISABLED
                                                      PERSONS ACT;
18
                                                      4. CALIFORNIA HEALTH & SAFETY
19                                                    CODE;
20                                                    5. NEGLIGENCE
21
22
23
           Plaintiff JEREMY HOLLAND (“Plaintiff”) complains of Defendants MALTY

24
     GROUP LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

25
                                               PARTIES

26
           1.     Plaintiff is a California resident with a physical disability. Plaintiff is

27
     diagnosed with complete paraplegia due to spinal cord injury and is substantially limited

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                                            COMPLAINT - 1
         Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 2 of 11 Page ID #:2




 1   in his ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling
 2   in public.
 3            2.   Defendants are, or were at the time of the incident, the real property owners,
 4   business operators, lessors and/or lessees of the real property for a gas station and
 5   convenience store (“Business”) located at or about 5012 Lincoln Ave., Cypress,
 6   California.
 7            3.   The true names and capacities, whether individual, corporate, associate or
 8   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 9   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
10   Court to amend this Complaint when the true names and capacities have been
11   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
12   fictitiously named Defendants are responsible in some manner, and therefore, liable to
13   Plaintiff for the acts herein alleged.
14            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
15   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
16   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
17   the things alleged herein was acting with the knowledge and consent of the other
18   Defendants and within the course and scope of such agency or employment relationship.
19            5.   Whenever and wherever reference is made in this Complaint to any act or
20   failure to act by a defendant or Defendants, such allegations and references shall also be
21   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
22   and severally.
23                                 JURISDICTION AND VENUE
24            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
25   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
26   seq.).
27            7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
28   arising from the same nucleus of operating facts, are also brought under California law,



                                              COMPLAINT - 2
         Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 3 of 11 Page ID #:3




 1   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2   54, 54., 54.3 and 55.
 3         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5   property which is the subject of this action is located in this district, Orange County,
 6   California, and that all actions complained of herein take place in this district.
 7                                     FACTUAL ALLEGATIONS
 8         10.    In or about September of 2023, Plaintiff went to the Business.
 9         11.    The Business is a gas station and convenience store business establishment,
10   open to the public, and is a place of public accommodation that affects commerce
11   through its operation. Defendants provide a restroom for customers.
12         12.    While attempting to enter the Business during each visit, Plaintiff personally
13   encountered a number of barriers that interfered with his ability to use and enjoy the
14   goods, services, privileges, and accommodations offered at the Business.
15         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16   included, but were not limited to, the following:
17                a.     Defendants failed to comply with the federal standard for the
18                       restroom. The restroom was not accessible and violated various
19                       American with Disability Act Accessibility Guideline (“ADAAG”)
20                       requirements, including but not limited to:
21                       a.     toilet flush;
22                       b.     doorknob and lock; and
23                       c.     knee clearance
24         14.    These barriers and conditions denied Plaintiff full and equal access to the
25   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
26   patronize the Business; however, Plaintiff is deterred from visiting the Business because
27   his knowledge of these violations prevents him from returning until the barriers are
28   removed.



                                                COMPLAINT - 3
         Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 4 of 11 Page ID #:4




 1         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 2   there are additional barriers to accessibility at the Business after further site inspection.
 3   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 4   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6   knew that particular barriers render the Business inaccessible, violate state and federal
 7   law, and interfere with access for the physically disabled.
 8         17.    At all relevant times, Defendants had and still have control and dominion
 9   over the conditions at this location and had and still have the financial resources to
10   remove these barriers without much difficulty or expenses to make the Business
11   accessible to the physically disabled in compliance with ADDAG and Title 24
12   regulations. Defendants have not removed such barriers and have not modified the
13   Business to conform to accessibility regulations.
14                                     FIRST CAUSE OF ACTION
15          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16         18.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19   shall be discriminated against on the basis of disability in the full and equal enjoyment of
20   the goods, services, facilities, privileges, advantages, or accommodations of any place of
21   public accommodation by any person who owns, leases, or leases to, or operates a place
22   of public accommodation. See 42 U.S.C. § 12182(a).
23         20.    Discrimination, inter alia, includes:
24                a.     A failure to make reasonable modification in policies, practices, or
25                       procedures, when such modifications are necessary to afford such
26                       goods, services, facilities, privileges, advantages, or accommodations
27                       to individuals with disabilities, unless the entity can demonstrate that
28                       making such modifications would fundamentally alter the nature of



                                            COMPLAINT - 4
     Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 5 of 11 Page ID #:5




 1                such goods, services, facilities, privileges, advantages, or
 2                accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3          b.    A failure to take such steps as may be necessary to ensure that no
 4                individual with a disability is excluded, denied services, segregated or
 5                otherwise treated differently than other individuals because of the
 6                absence of auxiliary aids and services, unless the entity can
 7                demonstrate that taking such steps would fundamentally alter the
 8                nature of the good, service, facility, privilege, advantage, or
 9                accommodation being offered or would result in an undue burden. 42
10                U.S.C. § 12182(b)(2)(A)(iii).
11          c.    A failure to remove architectural barriers, and communication barriers
12                that are structural in nature, in existing facilities, and transportation
13                barriers in existing vehicles and rail passenger cars used by an
14                establishment for transporting individuals (not including barriers that
15                can only be removed through the retrofitting of vehicles or rail
16                passenger cars by the installation of a hydraulic or other lift), where
17                such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18          d.    A failure to make alterations in such a manner that, to the maximum
19                extent feasible, the altered portions of the facility are readily
20                accessible to and usable by individuals with disabilities, including
21                individuals who use wheelchairs or to ensure that, to the maximum
22                extent feasible, the path of travel to the altered area and the
23                bathrooms, telephones, and drinking fountains serving the altered
24                area, are readily accessible to and usable by individuals with
25                disabilities where such alterations to the path or travel or the
26                bathrooms, telephones, and drinking fountains serving the altered area
27                are not disproportionate to the overall alterations in terms of cost and
28                scope. 42 U.S.C. § 12183(a)(2).



                                     COMPLAINT - 5
         Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 6 of 11 Page ID #:6




 1         21.      Toilet flush controls shall be hand operated or automatic. Hand operated
 2   flush controls shall comply with 309. Flush controls shall be located on the open side of
 3   the water closet. 2010 ADA Standards § 604.6.
 4         22.      Here, Defendants failed to install a proper flush control as the one provided
 5   was not installed on the open side.
 6         23.      Handles, pulls, latches, locks, and other operating devices on accessible
 7   doors shall have a shape that is easy to grasp with one hand and does not require tight
 8   grasping, tight pinching, or twisting of the wrist to operate. Lever-operated mechanisms,
 9   push-type mechanisms, and U-shaped handles are acceptable designs. When sliding doors
10   are fully open, operating hardware shall be exposed and usable from both sides.
11   Hardware required for accessible door passage shall be mounted no higher than 48 in
12   (1220 mm) above finished floor. 1991 ADA Standards § 4.13.9.
13         24.      Here, Defendants failed to provide accessible handle and locks on the
14   restroom door. The door consisted of a twist mechanism on the doorknob that was
15   difficult to grasp and operate without a proper handle. The lock requires tight pinching to
16   operate, and the doorknob requires twisting of the wrist to operate.
17         25.      Knee clearance that is at least 27 in (685 mm) high, 30 in (760 mm) wide,
18   and 19 in (485 mm) deep shall be provided underneath sinks. 1991 ADA Standards §
19   4.24.3.
20         26.      Here, Defendants failed to provide adequate knee clearance underneath the
21   sink. There was a cabinet under the sink blocking the knee clearance.
22         27.      A public accommodation shall maintain in operable working condition those
23   features of facilities and equipment that are required to be readily accessible to and usable
24   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
25         28.      By failing to maintain the facility to be readily accessible and usable by
26   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
27   regulations.
28




                                             COMPLAINT - 6
         Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 7 of 11 Page ID #:7




 1         29.    The Business has denied and continues to deny full and equal access to
 2   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 3   discriminated against due to the lack of accessible facilities, and therefore, seeks
 4   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 5   by individuals with disabilities.
 6                                 SECOND CAUSE OF ACTION
 7                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 8         30.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10         31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
11   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
12   national origin, disability, medical condition, genetic information, marital status, sexual
13   orientation, citizenship, primary language, or immigration status are entitled to the full
14   and equal accommodations, advantages, facilities, privileges, or services in all business
15   establishments of every kind whatsoever.”
16         32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
17   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
18   for each and every offense for the actual damages, and any amount that may be
19   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
20   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
21   attorney’s fees that may be determined by the court in addition thereto, suffered by any
22   person denied the rights provided in Section 51, 51.5, or 51.6.
23         33.    California Civil Code § 51(f) specifies, “a violation of the right of any
24   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
25   shall also constitute a violation of this section.”
26         34.    The actions and omissions of Defendants alleged herein constitute a denial
27   of full and equal accommodation, advantages, facilities, privileges, or services by
28   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.



                                             COMPLAINT - 7
         Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 8 of 11 Page ID #:8




 1   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 2   51 and 52.
 3         35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 4   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 5   damages as specified in California Civil Code §55.56(a)-(c).
 6                                 THIRD CAUSE OF ACTION
 7                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 8         36.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10         37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
11   entitled to full and equal access, as other members of the general public, to
12   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
13   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
14   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
15   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
16   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
17   places of public accommodations, amusement, or resort, and other places in which the
18   general public is invited, subject only to the conditions and limitations established by
19   law, or state or federal regulation, and applicable alike to all persons.
20         38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
21   corporation who denies or interferes with admittance to or enjoyment of public facilities
22   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
23   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
24   the actual damages, and any amount as may be determined by a jury, or a court sitting
25   without a jury, up to a maximum of three times the amount of actual damages but in no
26   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
27   determined by the court in addition thereto, suffered by any person denied the rights
28   provided in Section 54, 54.1, and 54.2.



                                            COMPLAINT - 8
         Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 9 of 11 Page ID #:9




 1         39.    California Civil Code § 54(d) specifies, “a violation of the right of an
 2   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 3   constitute a violation of this section, and nothing in this section shall be construed to limit
 4   the access of any person in violation of that act.
 5         40.    The actions and omissions of Defendants alleged herein constitute a denial
 6   of full and equal accommodation, advantages, and facilities by physically disabled
 7   persons within the meaning of California Civil Code § 54. Defendants have
 8   discriminated against Plaintiff in violation of California Civil Code § 54.
 9         41.    The violations of the California Disabled Persons Act caused Plaintiff to
10   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
11   statutory damages as specified in California Civil Code §55.56(a)-(c).
12                                FOURTH CAUSE OF ACTION
13                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
14         42.    Plaintiff incorporates by reference each of the allegations in all prior
15   paragraphs in this complaint.
16         43.    Plaintiff and other similar physically disabled persons who require the use of
17   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
18   such facility is in compliance with the provisions of California Health & Safety Code §
19   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
20   provisions of California Health & Safety Code § 19955 et seq.
21         44.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
22   that public accommodations or facilities constructed in this state with private funds
23   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
24   Title 1 of the Government Code. The code relating to such public accommodations also
25   require that “when sanitary facilities are made available for the public, clients, or
26   employees in these stations, centers, or buildings, they shall be made available for
27   persons with disabilities.
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                                            COMPLAINT - 9
        Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 10 of 11 Page ID #:10




 1          45.    Title II of the ADA holds as a “general rule” that no individual shall be
 2   discriminated against on the basis of disability in the full and equal enjoyment of goods
 3   (or use), services, facilities, privileges, and accommodations offered by any person who
 4   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 5   Further, each and every violation of the ADA also constitutes a separate and distinct
 6   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 7   award of damages and injunctive relief pursuant to California law, including but not
 8   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 9                                   FIFTH CAUSE OF ACTION
10                                         NEGLIGENCE
11          46.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13          47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
14   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
15   to the Plaintiff.
16          48.    Defendants breached their duty of care by violating the provisions of ADA,
17   Unruh Civil Rights Act and California Disabled Persons Act.
18          49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
19   has suffered damages.
20                                     PRAYER FOR RELIEF
21          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
22   Defendants as follows:
23          1.     For preliminary and permanent injunction directing Defendants to comply
24   with the Americans with Disability Act and the Unruh Civil Rights Act;
25          2.     Award of all appropriate damages, including but not limited to statutory
26   damages, general damages and treble damages in amounts, according to proof;
27          3.     Award of all reasonable restitution for Defendants’ unfair competition
28   practices;



                                            COMPLAINT - 10
        Case 8:23-cv-02443 Document 1 Filed 12/22/23 Page 11 of 11 Page ID #:11




 1         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 2   action;
 3         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 4         6.     Such other and further relief as the Court deems just and proper.
 5                              DEMAND FOR TRIAL BY JURY
 6         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 7   demands a trial by jury on all issues so triable.
 8
 9   Dated: December 22, 2023                       SO. CAL. EQUAL ACCESS GROUP
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11
12                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
13                                                  Attorneys for Plaintiff
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                                           COMPLAINT - 11
